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12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                   SOUTHERN DIVISION
14
       JOHN C. EASTMAN                          Case No. 8:22-cv-00099-DOC-DFM
15
16                 Plaintiff,                   CONGRESSIONAL DEFENDANTS’
                                                RESPONSE TO (1) PLAINTIFF’S
17     vs.                                      MOTION FOR EXCULPATORY
                                                EVIDENCE AND CONTINUANCE OF
18     BENNIE G. THOMPSON, et al.,              THE MARCH 8 PRIVILEGE HEARING
19                                              AND (2) PLAINTIFF’S MOTION TO
                   Defendants.                  EXCEED PAGE LIMIT TO MATCH
20                                              DEFENDANTS’ EXCESS
                                                PAGE LIMIT
21
                                                Date:     March 8, 2022
22
                                                Time:     9:00 a.m.
23                                              Location: Courtroom 9D
24
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 1 I.     Plaintiff’s Motion for Exculpatory Evidence And Continuance Of The
          Privilege Hearing Fails
 2
 3        This Court should reject Plaintiff’s last-minute motions for exculpatory
 4 information and continuance of the March 8 privilege hearing and for additional pages.
                                                                                          1


 5        First, Plaintiff has known for some time of the possibility that Congressional
 6 Defendants were considering arguing the crime-fraud exception. At the hearing on
 7 January 24, Judge Carter asked counsel for Congressional Defendants whether they were
 8 contemplating an argument that the privilege should be abrogated due to the crime-fraud
 9 exception. ECF 44, Hearing Tr. 65:18-21 (Jan. 24, 2022). Counsel responded that “it
10 might very well be that we would at some point raise that -- the crime-fraud exception,”
11 and “that is something that if there were further proceedings in this case, we would
12 certainly look very closely at.” Id. at 65:22-66:8.
13        In addition, Congressional Defendants’ objections to Plaintiff’s privilege logs have
14 contained, for numerous entries, the following objection: “The information provided on
15 this privilege log does not contain the requisite information to enable the Select
16 Committee to determine if any exceptions, such as crime-fraud, are applicable. The
17 Select Committee thus reserves the right to object to this specific privilege claim on
18 crime-fraud or other applicable grounds, upon receiving the requisite additional
19 information, and Select Committee's ongoing investigation into the January 6th attack”
20 (emphasis added). That objection appeared on the logs currently at issue before this
21 Court.
          2


22  Counsel for Plaintiff failed to confer with the Select Committee before filing his
     1

23 motions, as required by Local Rule 7-3.
24  Chapman004494; 004496; 004547; 004553; 004707; 004708; 004713; 004720; 004721;
     2

25 004722; 004723; 004744; 004745; 004766; 004767; 004788; 004789; 004790; 004791;
   004792; 004793; 004794; 004827; 004828; 004833; 004834; 004835; 004839; 004841;
26 004963; 004964; 004976; 004977; 004979; 004990; 004992; 005011; 005012; 005014;
27 005017; 005018; 005023; 005024; 005045; 005046; 005061; 005064; 005066; 005067;
   005068; 005091; 005094; 005096; 005097; 005101; 005113; 005114; 005130; 005131;
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 1        Furthermore, Plaintiff specifically asked for the right to file an opening brief—
 2 necessarily giving him less time on reply to answer the Select Committee’
 3 arguments. ECF 113, Hearing Tr. 8:4-11 (Feb. 14, 2022). He raised no objection to this
 4 Court’s order giving him four days for a reply. Indeed, in his opening brief, plaintiff
 5 himself chastised the Congressional Defendants for failing to submit evidence to support
 6 their assertions of crime fraud—before the Congressional Defendants had had an
 7 opportunity to do so. See Eastman Br. 15. He cannot now, nearly 48 hours after
 8 Congressional Defendants filed their response, reasonably complain that he lacks time to
 9 prepare an adequate response. Nevertheless, the Congressional Defendants of course
10 defer to this Court’s judgment on whether to extend the time for the hearing.
11        Second, there is no basis for ordering this sort of extensive discovery in the context
12 of a civil litigation dispute about the validity of Plaintiff’s privilege objections. Brady
13 and Giglio both involve constitutional due process protections for criminal
14 defendants. See Brady v. Maryland, 373 U.S. 83, 86 (1963) (“We agree with the Court of
15 Appeals that suppression of this confession was a violation of the Due Process Clause of
16 the Fourteenth Amendment.”); Giglio v. United States, 405 U.S. 150, 155 (1972)
17 (applying Brady to failure to inform criminal defendant that a witness was promised
18 leniency in exchange for testimony). These procedures exist to safeguard the substantial
19 liberty interests at stake in criminal proceedings. But nothing here places Plaintiff’s (or
20 anyone else’s) liberty in jeopardy. If this Court ultimately finds that the crime-fraud
21 exception applies, Plaintiff will not be incarcerated, nor will he suffer civil sanctions.
22 Chapman University will produce relevant documents. Plaintiff cites no case transposing
23
     005134; 005135; 005154; 005155; 005156; 005157; 005158; 005159; 005160; 005161;
24 005248; 005249; 005251; 005252; 005261; 005268; 005283; 005299; 005300; 005329;
25 005338; 005412; 005423; 005424; 005433; 005484; 005488; 005489; 005490; 005491;
     005492; 005498; 005510; 005515; 005519; 005547; 005551; 005578; 005667; 005668;
26 005672; 005676; 005677; 005678; 005680; 005704; 005719; 005720; 005722; 005874;
27 005876; 006023; 006024; 006028; 006032; 006035; 006039; 006041; 006591; 006592;
     006601.
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 1 these constitutional criminal procedure protections into a civil crime-fraud dispute about
 2 the applicability of the attorney-client privilege and work-product doctrine (and the
 3 Congressional Defendants are aware of none). Notably, the standard for this Court’s
 4 review of the instant matter is preponderance of the evidence, not proof beyond a
 5 reasonable doubt as in a criminal proceeding. See In re Napster, Inc. Copyright Litig.,
 6 479 F.3d 1078, 1094-95 (9th Cir. 2007), abrogated on other grounds by Mohawk Indus.,
 7 Inc. v. Carpenter, 558 U.S. 100 (2009).
 8        Third, under Ninth Circuit precedent, Plaintiff does not even have the right to
 9 present his own exculpatory evidence prior to in-camera review by a court of the
10 documents (which is all the Select Committee has sought to this point). His request at
11 this early stage is not just for the opportunity to present contrary evidence (which this
12 Court has already granted him), but for the additional right to extensive discovery into
13 the Select Committee’s evidence, and that request has absolutely no basis in law. As the
14 Ninth Circuit has held: “To require a detailed consideration of all available evidence at
15 the threshold step of the Zolin analysis would severely disrupt” the balance between the
16 importance of the attorney-client privilege and the minimal intrusion of an in-camera
17 inspection. In re Grand Jury Subpoena, 31 F.3d 826, 829 (9th Cir. 1994); see also id.
18 (“The Corporation urges us to find that a district court must consider ‘other available
19 evidence,’ in addition to that presented by the party requesting review, at both steps of
20 the Zolin analysis. However, the first step of the analysis should focus only on evidence
21 presented by the party seeking in camera review.”); In re Napster, Inc. Copyright Litig.,
22 479 F.3d at 1092 (“There is nothing in Zolin specifically indicating whether the party
23 seeking to preserve the attorney-client privilege has the right to present countervailing
24 evidence before the district court decides whether to conduct an in camera review of the
25 attorney-client communications. It has been assumed by a number of courts of appeal,
26 including our own, that while nothing forbids the district court from asking for or
27 receiving such countervailing evidence, there is also nothing requiring the district court
28 to do so.”) (citations omitted).

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 1        Fourth, Plaintiff—not the Select Committee—is in the best position to produce
 2 evidence disproving allegations of criminal and fraudulent activity. Indeed, the Ninth
 3 Circuit has long recognized that “the best evidence is likely to be in the hands of the
 4 party invoking the privilege.” In re Napster, Inc. Copyright Litig., 479 F.3d at
 5 1090. The extent of potential wrongdoing and of Plaintiff’s personal involvement are the
 6 very things the Select Committee is seeking to better understand through its request for
 7 documents in this case. That is precisely why in-camera review requires only “a factual
 8 basis adequate to support a good faith belief by a reasonable person that in camera review
 9 of the materials may reveal evidence to establish the claim that the crime-fraud exception
10 applies” and nothing more. United States v. Zolin, 491 U.S. 554, 572 (1989) (citation
11 omitted) (emphasis added).
12        Fifth, the Speech or Debate Clause, U.S. Const., Art. I, § 6, cl. 1, provides absolute
13 immunity for Members of Congress and its Committees for any claims predicated on
14 legislative activities. See Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 502 (1975).
15 The Clause covers not only traditional “legislative acts,” but also all other activities that
16 fall “within the ‘legislative sphere.” Doe v. McMillan, 412 U.S. 306, 312 (1973) (quoting
17 Gravel, 408 at 618, 624-25); McCarthy v. Pelosi, 5 F.4th 34 (D.C. Cir. 2021). The
18 “legislative sphere” has been broadly construed to include all activities that are “an
19 integral part of the deliberative and communicative processes by which Members
20 participate in committee and House proceedings[.]” Eastland, 421 U.S. at 504 (quoting
21 Gravel, 408 U.S. at 625). As the Ninth Circuit has made clear, “[o]btaining information
22 pertinent to potential legislation or investigation is … within the ‘legitimate legislative
23 sphere.’” Miller v. Transam. Press, Inc., 709 F.2d 524, 530 (9th Cir. 1983) (quoting
24 Eastland, 421 U.S.at 503) (emphasis added).
25        As relevant here, the Speech or Debate Clause prevents this Court from providing
26 the relief Plaintiff seeks; namely a discovery order to produce Brady and Giglio materials
27 in its possession for Plaintiff’s review. See Senate Permanent Subcomm. on
28 Investigations v. Ferrer, 856 F.3d 1080 (D.C. Cir. 2017). In Ferrer, the D.C. Circuit

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 1 explained that the Speech or Debate Clause “affords Congress a privilege to use materials
 2 in its possession without judicial interference.” Id. at 1086 (internal quotation marks
 3 omitted); see also Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d 408, 416
 4 (D.C. Cir. 1995) (explaining that the Speech or Debate Clause “permits Congress to
 5 conduct investigations and obtain information without interference from the courts”).
 6 Plaintiff cites to no authority to the contrary, nor could he.
 7        Accordingly, this Court should refrain from entering any order that compels the
 8 production of information from the Select Committee’s on-going investigation.
 9 II.    Plaintiff’s Motion For Excess Pages Lacks Merit
10        Plaintiff’s motion to exceed the page limits previously set by the Court (ECF 177)
11 is thoroughly mistaken. Plaintiff wrongly asserts that the Congressional Defendants
12 opposition violated Local Rule 11-3.3 because it numbered the pages in the Table of
13 Contents and Table of Authorities using roman numerals (i-xvi) and then began on page
14 16 by using “1.” Id. at 2. By counting the tables as part of the substantive motion,
15 Plaintiff erroneously concludes that the Congressional Defendants brief was 71 pages,
16 exceeding the 60 pages allotted by the Court.
17        Plaintiff ignores Local Rules 11-6 and 11-8, which govern memorandum of points
18 and authorities and tables of contents and authorities, respectively. Local Rule 11-6
19 expressly states that when determining the length of briefs, parties are to do so
20 “excluding indices and exhibits.” Local Rule 11-6 (emphasis added). Further, Local
21 Rule 11-8 unambiguously requires the use of such tables in all briefs exceeding 10 pages
22 in length, expressly referring to them as “indexed tables.” Local Rule 11-8. Plaintiff
23 cites no rule in this or any court requiring tables be counted against applicable page or
24 word limits and Congressional Defendants are not aware of any contrary authority in any
25 court. In fact, both the Federal Rules of Appellate Procedure and the Rules of the
26 Supreme Court expressly exclude tables of contents and authorities when computing brief
27 limits. See, e.g., Fed. R. App. Proc. 32(f) (“In computing any length limit … the
28 following items do not [count]: … table of contents; table of citations ….”); Rules of the

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 1 Supreme Court 33(d) (“The word limits do not include the pages containing ... the table
 2 of contents, the table of cited authorities ….”).
 3        Accordingly, Congressional Defendants’ opposition was within the Court’s
 4 established page limit and Plaintiff’s motion for excess pages should be denied.
 5                                       CONCLUSION
 6        For the foregoing reasons, Plaintiff’s motions should be denied.
 7
                                                Respectfully submitted,
 8
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 1
                               CERTIFICATE OF SERVICE
 2
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 3
         I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:
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 8        On March 4, 2022, I served the CONGRESSIONAL DEFENDANTS’ BRIEF
   IN OPPOSITION TO PLAINTIFF’S PRIVILEGE ASSERTIONS on the interested
 9 parties in this action:
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19
20      (BY E-MAIL OR ELECTRONIC TRANSMISSION)
21        The document was served on the following via The United States District Court –
          Central District’s CM/ECF electronic transfer system which generates a Notice
22        of Electronic Filing upon the parties, the assigned judge, and any registered user
          in the case:
23
24       (FEDERAL) I declare under penalty of perjury that the foregoing is true and
                   correct, and that I am employed at the office of a member of
25
                   the bar of this Court at whose direction the service was made.
26
         Executed on March 4, 2022 here, at Bethesda, Maryland.
27
28                                                 /s/ Douglas N. Letter


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